                                                                                ORDER:
                                                                                Motion Granted, as
                                                                                restricted by Docket No. 33.

                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION
                                                                                U.S. Magistrate Judge
UNITED STATES OF AMERICA                       )
                                               )
v.                                             )       Case No. 3:13-00162
                                               )       Magistrate Judge Knowles
WENDY ASKINS                                   )


               MOTION OF DEFENDANT WENDY ASKINS TO ENLARGE
                            TRAVEL RESTRICTION

        COMES NOW the Defendant, Wendy Askins, by and through her undersigned counsel, and

hereby respectfully requests that the Court enter an Order enlarging her travel restriction to include

Mississippi, Kentucky, North Carolina and Ohio as additional areas of permissible travel. In support

hereof, Defendant states as follows:

        1.     On September 27, 2013, this Court released Defendant Askins on conditions which

included, among other things, that her “travel [be] restricted to the Middle District of Tennessee and

the Eastern District of Tennessee . . . unless pre-approved for out of district travel by Pretrial

Services.” (Docket Entry 16, Release Order, ¶ 7(i)).

        2.    Ms. Askins is currently employed by a company that is engaged in the restoration of

the historic 100-year-old Donoho Hotel and Entertainment Center located in Red Boiling Springs,

Tennessee. Among her duties, she books the talent that performs at the adjacent Entertainment

Center. She anticipates travel to Mississippi and North Carolina for this purpose. Red Boiling

Springs is located in Macon County, Tennessee, and is only a few miles from the Kentucky line. Ms.

Askins needs to be able to travel to Kentucky for the purpose of purchasing commercial kitchen

equipment for the Donoho Hotel. Ms. Askins is employed in the Donoho Hotel project by an elderly

woman who has siblings in Cincinnati, Ohio. This woman will often ask Ms. Askins to drive her



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